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                              UNITEDSTATESDISTRICTCOURT
                           FOR THE SOUTHERN DISTRICT OF OH?^2 HAR - 8 PN 3; 0 9
                               WESTERN DIVISION AT DAYTON ,
                                                                      S Cut        ...;:!JHIO
 UNITED STATES OF AMERICA,                        Case No.           WE^^DiyDA^qi
         Plaintiff,                               INDICTMENT
                                                  18U. S. C. §371
 V.
                                                  ;^:^|^                  THOMASM. ROSE
 MICHAELGUENINand                                 18U. S. C. §2
 BRIAN MTCHEY,

         Defendants.



THE GRANDJURYCHARGES:

At times material to this indicbnent:

        1.      The Employee Retirement Income Security Act of 1974 (ERISA), Title 29, United

StatesCode, Section1001 et seq.,wasenactedto protecttheinterests ofparticipantsinprivate sector

employee welfare benefit plans, including employee pension benefit plans. An employee pension

benefitplan is a plan, fund, or program establishedor maintainedby an employer or associationof

employers for the purpose of providing retirement income to employees. Employees that elect to

participate in the retirement plan can save a portion oftheir income and defer payingtaxes on the

income until they withdraw their money from the plan either at retirement or through early

withdrawals. A typical ERISAemployee pensionbenefitplan is the 401(K).

        2.      KMH Systems, Inc. ("KMH")wasa for-profit corporationheadquarteredin Dayton,

Ohio.

        3.      KMH established the KMH Systems, Inc. 401(k) Plan (the "Retirement Plan") to

provide retirement benefitsfor its employees.
        4.     The Retirement Plan allows for participants to make tax deferred, salary reduction

contributions. The Retirement Planalso permits participant loans whicharerepaidto the Retirement

Planthroughparticipant salary withholdings.

        5.     Defendant MICHAEL GUENIN was the owner and Chief Executive Officer of

KHM.

        6.     Defendant BRIAN RITCHEY was KMH's Chief Financial Officer. BMAN

MTCHEYwas a contractor andnot an employee ofKMH.

       7.      Individual A was KMH's Human Resources manager and in charge of processing

payroll andRetirement Plancontributions.

                                          COUNT ONE

                                     [18U. S. C. §§371and2]

       8.      The allegations in paragraphs 1 through 7 are incorporatedby reference.

       9.      From in or about January 2017, until and including January 2021, in the Southern

District of Ohio and elsewhere, the Defendants, MICHAEL GUENINand BRIAN RITCHEY,

along with others known and unknown to the Grand Jury, acting with the intent to deprive the

Retirement Plan of its funds, knowingly conspiredto embezzle, steal andunlawfully and willfully

absti-actandconvertto their ownuseandthe use ofanotherinthe approximateamountof$155,604,

the moneys, funds, securities, premiums, credits, property and other assets ofthe Retirement Plan,

an employee pension benefit plan subject to Title I of the Employee Retirement Income Security

Act of 1974, in violation of Title 18, United States Code, Sections 371 and 664.

                              Manner and Means of the Cons irac

       10.     The manner and means by which MICHAEL GUENIN and BRIAN RITCHEY

would and did cany out the conspiracy included, but were not limited to, the following:
               a.     MICHAEL GUENIN and BMAN RITCHEY controlled operation of the

                      funding ofthe RetirementPlanandwere awarethatthey werenot allowedto

                      take employee withholdingsfor their ownbenefit or for KMH'sbenefit.

               b.     Despite understanding this, MICHAEL GUENIN and BMAN RITCHEY

                      intentionally did not remit funds for the Retirement Plan. Instead of

                      depositing all of the withholdings for the Retirement Plan as 401k

                      contributions or repaying the participant loans, defendants MICHAEL

                      GUENIN and BRIAN MTCHEY diverted the funds to themselves and/or

                      KMH.

              c.      In an effort to conceal their actions, MICHAEL GUENIN and BRIAN

                      RITCHEY submitted or caused to be submitted documentation to the

                      Department of Labor that stated KMH and MICHAEL GUENIN and

                      BRIAN RITCHEY were in compliance in relation to the remittances into

                      the Retirement Plan.

                                             Overt Acts

       11.    In furtherance ofthe conspiracy, andto accomplish its objects, eachofthe defendants

committed, and caused others to commit, the following overt acts within the Southern District of

Ohio andelsewhere, including, but not limited to the following:

              a.      On May 15, 2017, Individual A emailed MICHAEL GUENIN and BRIAN

                      RITCHEY letting them know that employees were sent notices that their

                      contributionpayments are not beingmade.

              b.      On May 15, 2017, MICHAEL GUENIN responded by suggesting that they

                      switch providers.
c.   On June 2, 2017, BRIAN MTCHEY denied Individual A's request to pay

     contributions into the Retirement Plan in writing.

d.   On or about December28, 2017, IndividualA emailed BMAN MTCHEY

     asking for approval to process a 401k payment of $14, 850. 80.

e.   On or about December 28, 2017, BRIAN RITCHEY responded, "Let's wait

     a day or two".

f.   On or about May 21, 2018, Individual A emailed BRIAN MTCHEY with a

     list offour dates corresponding with outstanding 401k contributions for KMH

     asking when she may be able to transmit the contributions. BRIAN

     RITCHEY responded that he checked with MICHAEL GUENEN and

     approved transmitting contributions for only one ofthe four dates.

g.   On or about February 4, 2019, MICHAEL GUENIN emailed BMAN

     RITCHEY andIndividual A acknowledging that MICHAEL GUENINwas

     aware of the defaulted participant loans and inquired about whether they can

     file with the IRS's Voluntary Correction Program to get a record of default

     removed.

h.   In a text message exchange between BRIAN RITCHEY and Individual A,

     BMAN RITCHEY told Individual A that she can sign the management

     representation letter as secretary ofthe company. Individual A asks BRIAN

     RITCHEY"Howcan I signthe letter because ofwhatis stated aboutKMH

     being in compliance and no communications from regulatory agencies?"
i.   From at least April 23, 2018, through July 31, 2019, BMAN MTCHEY and

     MICHAEL GUENIN received emails notifying them that the aggregate

     amounts withheld from the Retirement Plan participant's salaries were not

     being remitted to the Retirement Plan, however neither took action to make

     the Retirement Plan whole.

j.   OnDecember 17, 2018, BRIAN RITCHEY emailed MICHAEL GUENEN

     regarding KMH's cash needs "401K $60k by end ofyear."

k.   From at least April 8, 2018, through December 19, 2019, BRIAN RITCHEY

     and MICHAEL GUENIN were emailed directly by the Retirement Plan

     participants or were forwarded emails from KMH employees notifying them

     both that amounts withheld from employees' salaries had not been remitted

     to the Retirement Plan.

1.   On April 8, 2019, MICHAEL GUENIN was emailed directly from an

     employee who stated "The deficiency is currently over $8K."

m.   In an October 13, 2019, managementrepresentationletter signedby BRIAN

     MTCHEY, he represented to the Retirement Plan's auditor that for the year

     ending December 31, 2018, "The Plan has complied with the DOL's

     regulations concerning the timely remittance of contributions to ti-usts

     containing assets for the Plan. " and "There were no reviews or inquiries by

     the DOL, IRS, or other regulatory agency of the Plan's activities or filings

     since our last audit."
       n.      From at least October 15, 2018, through November 12, 2019, BRIAN

               MTCHEY and MICHAELGUENINattempted to appeasethe employees

               by offering solutions to rectify the delinquent contributions. On February 3,

               2019, in response to an employee who notified MICHAEL GUENIN that

               his Retirement Plan loan defaulted that created a taxable situation,

               MICHAEL GUENIN responded with "KMH definitely will be figuring out

               thetax situation . . . Wemay have oiir CPAcontactyou andwewill pay him

               to do yours as he may be able to come up with a solution on it."

       o.      On the 2018 Annual Report Fonn 5500 dated October 15, 2019, the question

               "Was there a failure to transmit to the plan any participant

               contributions ... ?" And the box for "No" is marked with an X. The

               Retirement Plan's auditor completed the 2018 Annual Report Fonn 5500

               pursuant to representations in the October 13, 2019, management

               representation letter signed by BMAN RITCHEY.

       p.      On July 31, 2019, MICHAEL GUENIN emailed Individual A and asked

               "What is the amount that we owe Sam to make him whole on his 401K?"

All in violation of Title 18, United States Code, Sections 371 and 2.
                                          COUNT TWO

                                     [18U. S. C. §664and§2]

       12.     From on or about January 4, 2018 to December 6, 2019, in the Southern District of

Ohio, defendants, MICHAEL GUENIN and BMAN RITCHEY, aiding and abetting each other,

acting with intent to deprive the Retirement Plan of its funds, did embezzle, steal and unlawfully

and willfully abstract and convert to their own use and the use of another in the approximate amount

of $155, 604, the moneys, funds, securities, premiums, credits, property and other assets ofKMH

Systems, Inc. 401(k) Plan, an employee pension benefit plan subject to Title I of the Employee

Retirement Income Security Act of 1974.

       All in violation ofTitle 18, United States Code, Sections664 and2.
                                          COUNT THREE

                                     [18U. S.C. §1027and§2]

       13.     On or about October 13, 2019 in the Southern District of Ohio, in a document

required by Title I of the Employee Retirement Income Security Act of 1974 ("ERISA") to be kept

as part of the records of the KMH Systems, Inc. 401(k) Plan, an employee pension benefit plan,

defendant BRIAN RITCHEY did make false statements and representations offact, knowingthe

same to be false, and did knowingly conceal, cover up and fail to disclose to the Plan's Auditor facts

in a management representation letter, a document that is required to be kept aspart ofthe records

ofan employee pension benefit plan and which were necessary to verify, explain, clarity and check

for accuracy and completeness the Annual Report Form 5500, a report required by ERISA to be

published, namely: in an October 13, 2019, management representation letter signed by BRIAN

RITCHEY, he represented to the Plan's auditor that (1) "The Plan has complied with the DOL's

regulations concerning the timely remittance of contributions to trusts containing assets for the

Plan. " and (2) "There were no reviews or inquiries by the DOL, IRS, or other regulatory agency of

the Plan's activities or filings since our last audit. "   In making these representations, BRIAN

MTCHEY knew they were false because (1) BRIAN RITCHEY acknowledged in an

August 28, 2018, email his knowledge of unremitted contributions to the Plan, and was further

updated regarding the amount of imremitted contributions in emails on March 26, 2019 and

July 16, 2019;and(2) BRIANMTCHEY wasadvisedinMarch 29, 2019, andJuly 8, 2019, emails

ofDOL inquiries.

       All in violation of Title 18, United States Code, Sections 1027 and 2.
                                   A TRUE BILL




                                   Foreperson


KENNETHL. PARKER
United States Attorney




D MARRMOUL ON
Assistant United States Attorney
